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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1061V
                                        UNPUBLISHED


    MARILYN MERKIN,                                         Chief Special Master Corcoran

                        Petitioner,                         Filed: September 15, 2020
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Vasovagal Syncope
                       Respondent.


Douglas Alan Pettit, Pettit Kohn Ingrassia Lutz & Dolin, San Diego, CA, for Petitioner.

Jennifer Leigh Reynaud, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On July 23, 2019, Marilyn Merkin filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered vasovagal syncope as a result of an
influenza (“flu”) vaccine she received on October 11, 2017. Petition at 1. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

        On September 11, 2020, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c)
Report at 1. Specifically, Respondent states that “petitioner has satisfied the criteria set
forth in the Vaccine Injury Table (‘Table’) and the Qualifications and Aids to Interpretation,
which afford petitioner a presumption of causation if the onset of vasovagal syncope

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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occurs within one hour of a flu vaccination and there is no apparent alternative cause”.
Id. at 2. Respondent further agrees that Petitioner experienced more than six months of
residual effects. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                 s/Brian H. Corcoran
                                 Brian H. Corcoran
                                 Chief Special Master




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